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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                )
                                      )
               Plaintiff,             )
                                      )
v.                                    )       Civil Action No. 14–0958 (RMC)
                                      )
NATIONAL INDIAN GAMING                )
COMMISSION, et al.,                   )
                                      )
               Defendants.            )
                                      )

                        PLAINTIFF’S CONSENT MOTION FOR
                       MODIFICATION OF BRIEFING SCHEDULE

       Plaintiff, through undersigned counsel, respectfully requests that this Court grant

modification of the briefing schedule entered pursuant to the Minute Order of January 7, 2019,

by giving the parties an additional two weeks within which to file respective submissions

on summary judgment. The grounds for the request are as follows:

       1. Predecessor counsel has not yet transmitted the Administrative Record – constituting

more than 3000 pages – despite repeated requests. Some documentary material did finally arrive

Thursday, January 31, 2019, but most is irrelevant to the impending briefing. It is also missing

any electronic version of the Administrative Record.

       2. Defense counsel was on furlough during the 35 day partial Government shutdown

that ended Friday, January 25, 2019, so, until the week of January 28th, was not available as a

potential alternative source of the Administrative Record. He kindly agreed to furnish a

copy of the electronic version, and anticipates being able to do so by Tuesday, February 5th.

       3. Plaintiff is very mindful that the Court has discouraged any requests to modify

the briefing schedule, but respectfully submits that an additional two weeks for the parties’
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submissions is reasonable in the unusual circumstances here, a lengthy and continuing delay

in transmitting the Administrative Record on the part of predecessor counsel, and a partial

Government shutdown during most of that period that prevented the undersigned from seeking

the material from counsel for Defendants.

       4. Defense counsel has kindly indicated consent to modifying the briefing schedule in

light of the circumstances involved.

       WHEREFORE, Plaintiff respectfully requests that this Court grant the following

modifications to the briefing schedule:

       1. Plaintiff’s Motion for Summary Judgment from March 8th to March 22, 2019;

       2. Defendants’ Cross Motion for Summary Judgment and Response to Plaintiff’s

          Motion for Summary Judgment from April 12th to April 26, 2019;

       3. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment, and

          Reply to Defendants’ Response to Plaintiff’s Motion for Summary Judgment from

          from May 10th to May 24, 2019; and

       4. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

          Summary Judgment from May 30th to June 13, 2019.

       A proposed Order is attached.



                                       Respectfully submitted,


                                              /s/ John P. Racin
                                              John P. Racin
                                              Law Office of John P. Racin
                                              1721 Lamont Street, N.W.


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                                            Attorney for Plaintiff
                                            Fort Sill Apache Tribe




                             CERTIFICATE OF SERVICE

       The foregoing Plaintiff’s Consent Motion for Modification of Briefing Schedule will
be served to the following counsel for Defendant in this case by the Court’s CM/ECF system
after proper filing of an Adobe PDF version of the above items on the Court’s secure website
on February 4, 2019:

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                                            /s/ John P. Racin
                                            John P. Racin




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